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Attorneys for Defendant

Creditors Relief, LLC

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JEFFREY HALE, Individually and on Behalf of Civil Action No.: 2:17-cv-02447-JMV-MF
All Others Similarly Situated

Plaintiff, NOTICE OF MOTION FOR DISMISSAL
AND/OR DENIAL OF CLASS
Vs. CERTIFICATION

CREDITORS RELIEF, LLC, Motion Day: September 3, 2019

Defendant. ORAL ARGUMENT REQUESTED

 

 

TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on September 3, 2019, or on such later date as the Court
may order, Defendant Creditors Relief, LLC, through its undersigned counsel, shall apply to this
Court pursuant to Federal Rule of Civil Procedure 23 for an order dismissing and/or denying
certification of Plaintiff's proposed class.

PLEASE TAKE FURTHER NOTICE that Creditors Relief shall rely upon the

accompanying Brief, Declaration of Alan Tunit, and Declaration of Lee Vartan, Esq.

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PLEASE TAKE FURTHER NOTICE that a proposed order is submitted herewith.

Respectfully submitted,

 

 

 

Dated: August 9, 2019 — Tee Vartan. —-
Ce ck. Ross’ Pearlson
ae Daftiel D. Barnes

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